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UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


HANZHA DARBY,                                    §
                                                 §
                Plaintiff,                       §
                                                 §
versus                                           §   CIVIL ACTION NO. 1:20-CV-317
                                                 §
ADMIN. WARDEN SHULTS, et al.,                    §
                                                 §
                Defendants.                      §

                MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                   JUDGE’S REPORT AND RECOMMENDATION

         Plaintiff Hanzha Darby, an inmate confined at the United States Penitentiary in Beaumont,

Texas, proceeding pro se, brought the above-styled lawsuit.

         The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The Magistrate Judge recommends dismissing this action for failing to exhaust administrative

remedies and for want of prosecution (docket entry nos. 3 and 7).

         The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record, pleadings and all available

evidence. A copy of each report was sent to plaintiff at the address provided to the court. No

objections to the Reports and Recommendations of United States Magistrate Judge were filed by

the parties.
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                                          ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are

correct, and the reports of the Magistrate Judge are ADOPTED. A final judgment will be entered

in this case in accordance with the Magistrate Judge’s recommendations.

        SIGNED at Beaumont, Texas, this 25th day of September, 2020.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE




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